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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                    CRIMINAL ACTION NO.: 3:15CR104-SA

TAMICA WALKER

                                ORDER SETTING SENTENCING

         Pursuant to the change of plea held January 25, 2017, and the Defendant’s adjudication of
guilt,

         IT IS HEREBY ORDERED that,

         1. The sentencing hearing in this matter is set Wednesday, June 14, 2017, at 10:30

AM, Courtroom 2, Second Floor of the Aberdeen, Mississippi Bankruptcy Building.

         2. The United States Probation Office shall conduct a presentence investigation and

prepare a presentence report. FED. R. CRIM. P. 32(c) and (d), 18 U.S.C. § 3552(a), and U.S.S.G. §

6A1.1.

         3. The probation officer shall disclose the completed report to counsel for the defendant

and counsel for the government on or before May 10, 2017. Except for proposed special

conditions of supervision, the probation officer shall not disclose any recommendation made or

to be made to the Court. FED. R. CRIM. P. 32(e)(3).

         4. Counsel shall attempt in good faith to resolve disputes over any material in the

presentence report.    All arithmetical, typographical, or other clear error should be handled

informally, by counsel, with the probation officer.      Any unresolved objections to material

information, sentencing guideline ranges, and policy statements contained in or omitted from the

presentence report, shall be filed as a restricted document by the objecting party on or before
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May 24, 2017. FED. R. CRIM. P. 32(f)(2) and U.S.S.G. § 6A1.2(b). Any unresolved objections

will be included in the addendum to the presentence report.

       5. Sentencing memoranda and/or supporting documents addressing all relevant

sentencing issues, including reference letters and motions for departure, shall be filed as

restricted documents by the appropriate party on or before May 31, 2017. Any unresolved

objections will be included in the presentence report; objections should not be included in a

sentencing memorandum.

       6. The presentence report, in final form, including any unresolved objections, will be

delivered to the Court and the parties on or before June 7, 2017. FED. R. CRIM. P. 32(g) and

U.S.S.G. § 6A1.2 (c ).

       7. The Court will resolve objections to the presentence report at the sentencing hearing.

FED. R. CRIM. P. 32(i) and U.S.S.G. § 6A1.3.

       8. All parties that intend to have witnesses testify at sentencing shall give notice to the

Court ten (10) days prior to the sentencing date.


       This the 25th day of January, 2017.

                                                    _/s/ Sharion Aycock_______________
                                                    U.S. DISTRICT JUDGE
